Case 1:09-cr-00078-KD-C         Doc# 50      Filed 09/16/09      Page 1 of 1     PageID# 210




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
vs.                                              )   CRIMINAL NO. 09-00078-KD
                                                 )
MONTRE WILLIAMS                                  )


                                            ORDER

       For good cause shown and pursuant to the provisions of Rule 36 of the Federal Rules of

Criminal Procedure, governing the correction of clerical mistakes contained in the Judgment in a

Criminal Case, the court hereby AMENDS nunc pro tunc the judgment which was entered in

the above styled action on September 15, 2009, to read as follows:

              Sheet 1: USM Number: 10631-003 (see attachment)

       All other provisions of the original sentence are reimposed.

       DONE and ORDERED this 16th day of September, 2009.



                                            s/ Kristi K. DuBose
                                            KRISTI K. DuBOSE
                                            UNITED STATES DISTRICT JUDGE
